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         3.         MONVNA NINETEENTH JUDICIAL DISTRICT COURT

         2                         LINCOLN COUNTY

         3

         4    Cause No.    DV-98-142

         5    EDWARD A. GASTON,

         6                Plaintiff,

         7         -vs

        8     W. R. GRACE & CO. -Conn., a
              Connecticut corporation;
        9     EARL 0. LOVICK and DOES I-IV,

    10                    Defendants.

    13.

    12

    13                                 DEPOSITION OF

    14                            EDWARD A. GASTON

    15                       (On Behalf of Defendants.)

    16

    17

    18

    19

   20

   21

   22                            Venture Motor Inn
                                443 Highway 2 West
   23                             Libby, Montana
                      Monday,   March 22, 1999     3:00 p.m.
                                                  --


   24

   25         Reported by Beth Gilman, RPR and Notary Public for
                   the State of Montana, County of Flathead

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         1   or Ed,          it’s important that you and I communicate

         2   with one another,            so if I ask you a question that

         3   you don’t completely understand, please just tell me

         4   and I’ll rephrase it so that you do understand it

         5   and you’re answering the question that I’m asking.

        6           A.         All right.

        7           Q.         Okay.     How old are you?

     8              A.         Seventy-one in September.

     9              0.         Mr. Gaston,    how would you describe your

    10       general health as you sit here today?

    11              A.         It wasn’t too bad until awhile back.

    12       Last   -    -   You know,    first part I started getting a

    13       cough and I got phlegm in my throat, phlegm caught

    14       in my throat.             Otherwise I’ve been pretty good up

    15       until that time.

    16              Q.         Do you remember about when that was, Mr.

    17       Gaston?

    18              A.         I don’t know.        Must have been January of

    19       last year.

    20              Q.         So roughly about January of 1998 you

    21       started getting a cough?

    22              A.         That’s right.        That’s right.   Seemed like

   23        the phlegm was coming from my throat.

   24               Q.         Okay.     Do you have any trouble breathing

   25        at times?


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        1            A.   Not really.        I suppose if I go up the

        2   stairs a longtime, or up a hill,               I suppose I

        3   probably would, but I really haven’t had to do it,

     4      so I never realized it was a problem.

     5               Q.   Okay.     So in your everyday life, as you’re

     6      functioning everyday, you don’t seem to have much of

     7      a problem with shortness of breath?

     8               A.   No, not    - -   My big problem is my nose and

     9      ears get stuffed up.            I think it’s caused by

    10      allergies or something, because I have these spells

    11      and I can’t hear too good.              That’s one of my big

    12      problems.

    13               Q.   Are you having any trouble hearing me

    14      right now, Ed?

    15               A.   Not too much, no.          I can hear you, but

    16      I   --   It isn’t real    -*   I think these tubes get

    17      plugged up in my throat.             That’s part of my problem.

   18                Q.   Well, make sure that if you don’t hear

   19       something or you’re not sure exactly what I say,

   20       please just give me a holler.

   21                A.   That’s right.          I understand what you’re

   22       saying.

   23                Q.   Ed, are you under any medication for that

   24       cough that you were talking about?

   25                A.   Well, the doctor gave me some Prednisone,


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        1   or something like that.            He told me to take two a

        2   day for a week and then one a day.            I just keep

        3   getting these prescriptions for awhile, so that’s

     4      what I’ve been taking.          It seems to help some.      And

     S      I take vitamins and things like that.

     S             Q.   So your cough has reduced somewhat after

     7      taking this medication?

     8             A.   1 I believe it has.
                        Yeah                             I. had a burst of

     9      air there for awhile now.

    10             Q    Ed, you were diagnosed last summer with

    11      asbestosis.       Are you aware of that?

    12             A;   That’s right.          That was Dr. Johnson.

    13             Q.   What is your understanding of what that

    14      is?

    15             A,   Well    - -   Well, I understand that the

    16      particles get in your lungs and you can’t get it

    17      out.    That’s what I understand.

    18             Q.   Now, Ed, prior to getting thIs cough in

    19      the early part of 1998, would you describe your

   20       health as pretty good?

   21              A.   Yes, I do.

   22              Q.   Other than this medication that you’re on

   23       for your cough, are you on any other medication?

   24              A.   No.

   25              Q.   You’re not on any type of inhalant or


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         1    were cutting way down on their crews.

         2                 They did that twice.           Second time ,I took

         3    it up.     The second time up there she said, Would you

         4    like to take that?           I’ll figure out how much you get

         5    for the company pension and,          she said, you might

         S   just want to take it, so come on up to the office

         7   and sign up.

         8                That was in February, and then September

         9   they closed everything up.           I had an idea that they

    10       would.

    11              Q.    Is that why you took the severance,

    12       because you figured they were going to close down?

    13              A.    That’s right,       I figured they were going to

    14       close down.        They did pretty good on the severance

    15       pay.     They was pretty generous about it.

    16              Q.    Ed, you worked for W. R. Grace for about

    17       31 years;    is that right?

    18              A.    April,    ‘59.

    19              Q.    Were you happy working up there?

    20              A.    Yeah,    it wasn’t all that bad.         It was a

    21       lot better than some jobs I had               It wasn’t all that

    22       bad,   really.

    23              Q.    Ed,    in some written discovery that was

    24       given to us,       it indicated that you were a

    25       construction worker before you started working at


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         1    mortar?

         2            A.       No.

         3            Q.       You graduated from Troy High School in

         4    1946?

         5            A.       That’s right,         46.

         6            Q.       Ed, did you have any other formal

        7    education after that?

        0            A.        No.

        9             Q.       How about any training?           Did you ever go

    10       to any training courses or training schools?

    11               A.        No.

    12               Q.        And I think you said you started with

    13       Grace in April of           ‘59?

    14               A.        Right.    A pretty good place to work in one

    15       way because they didn’t just lay you off when things

    16       went    -   -   They would just keep you anyway,           you know.

    17       Construction jobs,           they don’t need you,        away you go.

    18.              Q.        So a little steadier up at the mine?

    19               A.       Construction jobs,           the boss knows you as

    20       “Rey,       you,” and the mine people knows you by your

   21        number.         A little different up there.

   22                Q.       What was the first job you had up there at

   23        the mine?         Do you remember?

   24                A.       Okay.     When I first started working,         I was

   25        on a construction job.              Dutch Flatt,     that was the


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         1    miii superintendent, and I bid at the mill as a

         2    sweeper, and a sweeper, he fills in for the top

         3    floor operator when he’s gone and also the skin

         4    operator.

         5            Q.      Could we back up a little bit?       You said

         6   you were in the construction department?

         7            A.      That’s right, just for a short time.

         8            Q.      That was going to be my question.       Do you

         9   remember about how long?

    10                A.      A little over a month is all.

    11                Q.      oh, okay.     And then you bid what job?

    12               A.       The sweeper in the mill.

    13               Q.       That was in the dry mill?

    14               A.       Yeah.     They had three people in the mill

    15       and    - -    three people on each shift in the dry mill

    16       and they had two operators in the wet mill, and then

    17       had a wet mill cleanup man.            And that’s all they

    18       had, you know, except a tester.              That’s all they had

    19       at that time.            So they was getting by pretty good.

    20               Q.      How long were you a dry mill sweeper?

    21              A.       Oh, during that one summer, the summer of

    22       ‘59.

    23              Q.       And what did a dry mill sweeper do?

    24              A,       Just sweep all the dirt down these holes

   25        and goes down to the tail belt.


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         1         Q.      Is that a dusty job?

         2         A.      Yeah,   it is.

         3         Q.    Did you ever wear a respirator?

         4         A.      I wore it a lot of the time, yes,       I did.

         5         Q.    Were you told to wear a respirator, Ed?

         6         A.    Yeah,     I was.

         7         Q.    Who told you?

         8        A.     Okay.     Dutch Flatt was the mill

         9   superintendent.       He said, Be sure and wear a

    10       respirator.

    11                   {e broke me in on the job.          He was a

    12       supervisor.       He broke me in on the job and told me

    13       what to do.       He was in charge of everything,      and he

    14       had all the shops and everything.            After he left it

    15       took four men to take his place.            He seemed to know

    16       what he was doing.

    17            Q.     Did he tell you why you should wear a

    18       respirator when you were sweeping?

    19            A.     No,   he didnt say nothing.        Never said

    20       anything.

    21            Q.     He just said to wear a respirator and you

    22       did so?

    23            A.     Because sometimes it was dusty in there.

    24       You could see that it was.          They had a big 600 fan

    25       in there that was supposed to take the dust off


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         1    these hoods on the screens.              It done some good, you

         2    know.        It did.

         3            Q.      But didnTt get it all?

         4            A.     oh, no, because there was times when it

         5    was a lot more dusty than others.

         6            Q.     What did you do after you became a

         7    sweeper?

         8            A.     Okay.   Well,    Dutch Flatt came over and got

         9   me,   and they started this          --   called a spiral tester,

    10       and he got it up,        so all of us had to come over and

    11       he just told us what we had to do.                We did that for

    12       awhile, and after awhile some guy went tO the

    13       research department and I was the shift tester.                   We

    14       would alternate shift, graveyard,               swing and days.

    15             Q.        nd what does a tester do?
    16             A.        Well, picks up samples in the mill every

    17       hour and he takes them down and analyzed them,               you

    18       weigh them and put them in a furnace.                They had a

    19       fan that was a vibrating fan and you blow all the

    20       vermiculate off for the rock.

    21             Q.       What were you testing for?

    22             A.       You tested for expansion,          for one thing.

   23        Some of the ore was a lot better than others.                They

   24        did that and told the customers what kind of ore

   25        they had.


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         1               Then they had a car sample tester too and

         2   test each car as they were loading it.

         3         Q.    So you were basically testing for the

         4   quality of the ore?

         S        A.     That’s right, because the lees rock the

         6   better the customer liked it.

         7        Q.     Was there much dust when you were a

         B   tester?

      9           A.     Not in the test lab itself, no, but we

     10      would go up through the mill, go up through the dry

     11      mill and pick up samples and go to the wet mill and

     12      come back to the wet mill again.

     13           Q.     And it was dusty up in the dry mill?

     14           A.     Oh, yes, it was.

     15           Q.     But where you were working as a tester it

    16       wasn’t dusty?

    17            A.     Not in the test lab itself it wasn’t.

    18            Q.     Would you wear a respirator when you would

    19       go up into the dry mill to get your samples?

    20            A.     That’s right.

    21            Q.     Is that a yes?

    22            A.     That’s right.

    23            Q.    Whotrained you to be a teeter?

    24            A.    Dutch Flatt.      He was the mill

    25       superintendent.     After he left, well, Walt Baker and


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         1    Alvin Nicholls was the supervisors then.

         2           Q.    Did you say Dutch Flatt?

         3           A.    Okay, well,      these other four guys took

         4   over after Dutch Flatt left.           One of them was Bud

         5   Vinion.      He was the quality control supervisor.

         6           Q.    Did anyone else besides Dutch Flatt ever

         7   tell you to wear a respirator?

         8          A.    Oh,    not that I recall, no.        Some people

         9   were pretty particular about wearing them,               and

     10      others didn’t       --    they didn’t care.

     11             0.    You saw people wearing a respirator?

     12             A.    Well,       the operators wore respirators a

    13       lot,   but the millwrights didn’t.            They was always

    14       busy with their hoods or goggles or something and

    15       they didn’t pay attention to respirators.                They just

    16       didn’t do it.        The guys in the construction areas

    17       didn’t use respirators either.

    18              Q.    Did you ever hear anybody in Grace

    19       management telling other employees to use

    20       respirators?

    21              A.    Not really,      no.   It was just   --   11o,    I

    22       don’t think they really insisted on it.                I don’t

    23       think they were.

    24              Q.    How long were you a tester?

    25              A.    Oh,   a little over tea years in the old


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         1   miii,        I was a tester for awhile in the new mill,

         2   more recent times.

         3           Q.     But you were a tester for about ten years

         4   when the old dry mill was running?

      5              A.     That’s right.

      6              Q.     Then what did you do, Ed?

     7               A.     Oh,   I bid on the tails belt.

     8               Q.     Excuse me?

     9               A.     Tails belt.     It rail through the wet mill

    10       first and then through the dry mill a ways, and then

    11       the sweepers got all of it except what is actually

    12       under the belt, and they just shoveled it up into a

    13       big ball.

    14                      It was a good job until they started that

    15       filter house.        It would go haywire, and make a big

    16       mess and fill that whole tunnel up with mud.           Just

    17       really gross:

    18            0.        Was it more labor-intensive than being a

    19       tester?

    20            A.        Yeah, probably so.    Oh, none of them jobs

    21       were actually all that hard.         They really weren’t.

    22       Like top floor operator, anybody could do that.            It

    23       wasn’t all that hard a job.         All they did was grease

    24       and brush the screens.         That’s all they had to do.

    25            Q.        And how long were you a tails belt


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         1    operator?

         2         A.     I don’t know.      Somewhere around two years

         3    or somewhere in that time.

         4         Q.     Was there a lot of dust around then?

         5         A.     No, there wasn’t.      There wasn’t a lot on

         6    the tails belt itself.        It had a gadget that went

         7   way out over the tails belt.

         8         Q.     Did you wear a respirator when you did

         9   that job?

    10            A.      Not on the side on the tails belt.      I did

    11       when I was in the dry mill.        You would have to go

    12       there just for a short time each day and get what

    13       was underneath the belt.

    14            Q.      Now, after the two years, what job did you

    15       take then?

    16            A.      Oh, that’s when they went to the new mill,

    17       andI worked on the big belts upon top, and also I

    18       worked down at the screening plant.        Also they would

    19       have us extra go out there in what they called the

    20       skid house is where the tailings were.

    21                    Kind of mixed up there for awhile because

    22       they would send us to different jobs, so we had to

    23       just do what they wanted us to do around the new

    24       mill until it broke down, and we would run the old

    25       miii for a few days until they got it fixed.        Took a


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         1   long time to get into the new mill.

         2        Q.      When the new mill was in and things kind

         3   of settled down       -   -




         4        A.      That’s right.

                  Q.      --    what was your job then?

         6        A.      Oh,    they wanted    -   -   First when they went to

         7   the new mill they wanted just to transfer us to our

      B      similar jobs in the new mill.               Union made a big fuss

      9      over it.     They wanted to bid on the job.             I didn’t

     10      have any department and I had to do something, so I

    11       bid on the screening plant down there to get into a

    12       department.

    13            Q.      And is that the job you did,            in the

    14       screening plant then?

    15            A,      Yeah.

    16            Q.      What did you do in the screening plant?

    17            A.      Okay.    What you do, they have a number 1

    18       operator and a number 2 operator.                Number 1

    19       operator, he pushes buttons and makes sure

    20       everything    --   and the number 2 operator fills in for

    21       them and also sweeps with a big vacuum cleaner, and

    22       you change screens.

    23            Q.      Did you wear a respirator when you were

    24       working in the screening plant?

    25           A.      Yes, and some places we had to wear ear


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     1   plugs too.     It wasn’t too bad except in the winter.

     2   It was cold in there in the winter, all that wind

     3   blowing through there.     Gee, so cold you couldn’t

     4   stand it.

     5        Q.      How long did you work in the screening

     6   plant?

     7        A.      A little over two years.     From there I

     8   went on to the big belts up on top, the one coming

     9   to the transfer point.

    10        Q.      And what did you do there?

    11        A,      Oh, they had the big belts up on top and

    12   you grease them every so often, and they clean up

    13   the messes underneath if somethirg goes wrong.           It

    14   was a good job until something went wrong and then

    15   you had to do quite a bit of doing to get that stuff

    16   back on to the belt again.      We swept with a broom

    17   too, you know.     You go through it everyday and sweep

    18   it down through the cracks about that wide on each

    19   side, just sweep it out.       Later on they had a vacuum

    20   system in there and they done it with that.

    21        Q.      And when you were working with the big

    22   belts, did you wear a respirator then?

    23        A.      Some jobs when you’re working down in OS &

    24   B you did, but up on the belts it really wasn’t all

    25   that dusty.     Transfer.point really wasn’t all that


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         1   dusty either.       But the Os & B, they were dusty.           The

      2      belts themselves weren’t all that bad.

      3             Q.   And I think you indicated you did that for

      4      about two years; is that right?

      5             A.   Yeah.

      6             Q.   And then what did you do?

      7             A.   Well, then they eliminated the job so I

      8      didn’t have any place to go,         so I went back to the

      9      old job that I had as a number         - -   utility man,     Just

     10      like the number 3 operator, see.

     11             Q.   In the screening plant?

     12             A.   No.     In the wet mill up there.

     13             Q.   Oh.

     14             A.   You didn’t have to know a lot to do that

     15      because mostly it’s just cleaning up and checking

     16      things out.       But the number 2 operator had the worst

     17      job.    He had a lot to do.

     18             0.   And did you take the number 2 operator

    19       job?

    20              A.   No.     I didn’t like that at all.        I got

    21       stuck with it for awhile.          I thought it was a

    .22      terrible job, get all wet all the time, gee whiz.

    23       Terrible in the winter.          The number 1 operator sat

    24       at the control room and pushed buttons.             Number 2

    25       would run the top floors, and the utility man would


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     1   issued us coveralls and paid for them, coveralls,

     2   but you would have to leave them up there.             We

     3   weren’t supposed to take them home; we would leave

     4   them up there.

     5        Q.      I see.     Now, after you worked in the test

     6   lab, where did you work then?

     7        A.      Oh, I bid on the dust truck because that’s

     8   the oniy way I could get into a department.             See,

     9   they divided up all these departments real fine, and

    10   1 didn’t have anything left out of the department

    11   and I had to bid on that.            Anyway, at the time they

    12   had it it was part of the screening plant.

    13        0.      So how long were you a dust truck driver?

    14        A.      Oh, about two years, something like that.

    15   I don’t know exactly.           I suppose I got the records

    16   someplace.     I don’t remember for sure.

    17                It was kind of a hard job though.          We have

    18   to hook up all them hoses and go around and collect

    19   the dust samples out of the bins, you know.             I would

    20   go over there on a       - -   across the river and get the

    21   samples from    - -   the dust from the loading place,

    22   sometimes fill up the entire truck and have to put

    23   out to the popping plant, and sometimes go down

    24   there to the loading bins, and they had four cycles

    25   down there and they would pick up the truck, take it


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      1   up and dump it in a     --    in a tails pond right

      2   directly under the water.

      3           Q.    Do you remember why you would collect dust

      4   samples?      What was the purpose of that?

      5           A.    What samples?

      6           Q.    Dust samples.        You said you would collect

      7   dust samples.

      8           A,    No, we didn’t.        Later on they had those

      9   little discs that that lady put on us and go around

     10   and she would check them out once in awhile.            But

     11   that’s the only thing we knew about that.            They

    12    hired somebody for that.

    13            Q.    What did you do after you were no longer a

    14    dust truck driver?

    15            A.    That’s when they asked us to leave.        They

    16    said,    If anybody wants to leave now, and quite a few

    17    of them took it.      They was going to cut way down on

    18    the crews., just trying to economize for some reason.

    19            Q.    So the last job you had there was dust

    20    truck driver?

    21            A.    Yeah.

    22            Q.    Did you wear a respirator as a driver?

    23        A.        Yes.

    24            Q.    Ed, were you ever a supervisor up there at

    25    the mine?


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          1   Grace in 19S9;                correct?

          2           A.            Right.

          3           Q.            I would like to talk specifically about

         4    the 1960s for a moment; okay?

         5            A.            Okay.

         6            Q.            During the 1960s, do you recall any

         7    improvement with regard to the dust problem up there

      8       at the mine?

      9               A.            No.     No.

    10                Q.            Do you remember the company trying to do

    11        anything to reduce the amount of dust in the ‘60s?

    12                A.            No.     No.

    13                Q.            How about in the      ‘70s?       Do you remember

    14        the company doing anything to reduce the dust?

    15                A.            No,    I don’t believe they did.

    16                Q.            Do you ever recall it being stated that

    17        that was one of the reasons they put in the new

    18        mill,    to reduce the dust,               in the ‘70s?

    19                A.            No,    I don’t believe it was.        I think   --   I

    20        don’t know what al]. went on, but when Grace was

    2].       going to buy the mill,                the people came here and they

    22        wanted       -   -    Anyway, Grace came here and met just five

    23        hours with us altogether, and they took him around

    24        up there at the mill and put the people in all the

    25        offices and went through the books.                       And they wanted


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         1   to do that so they could build a new mill, which was

      2      quite expensive though.          Seems to me like they go to

      3      a lot more ecpense than what they really have to,

     4       make something more elaborate and costly than what

     5       they really need to have.

     6               Q.   Ed, was there a big difference in the

     7       amount of dust you had to deal with when you were

     8       working inside the mill as opposed to outside the

     9       mill?

    10               A.   Oh, probably   --    Oh,   there was quite a bit

    11       inside the mill, and down there where they loaded

    12       the trucks down at the lower bins where the skip

    13       went down, it was quite dusty down there.

    14               Q.   Outside of that place, was there a big

    15       difference in the dust that was outside           -




    16            A.      Thats right.        Some places was a lot more

    17       dusty than others.

    18.           Q.      Do you remember the kind of respirator you

    19       used to use?

    20            A.      First we had those respirators that was

    21       metal, you know, aluminum, and they had a rubber

    22       thing around there and they had a little filter that

    23       you put inside.     We used those first.        Used several

    24       different kinds that they had there.

    25            Q.      What were some of the other kinds that you


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         1   could be dangerous if you breathed it?

         2        A.     No, I didn’t.

         3        Q.     When did you find out that it could be

     4       dangerous to breathe in that dust?

     5            A.     Oh, I don’t know.        No specific time.     I

     S       really didn’t.

     7            0.     Within the last year did you hear that?

     8            A.     You mean the last year I was wthking up

     9       there?

    10            Q.     No.     The last year from right now.        Within

    11       the last year, is that when you first heard that it

    12       could be dangerous?

    13            A.     I suppose, yeah.        People probably

    14       mentioned it, but people weren’t real specific about

    15       it at any time.       Never was.

    15            Q.     Did you ever ask anybody, Ed, why they had

    17       that chest x-ray program up at the mine?

    18            A.     No.     They started that in ‘59 when I first

    19       started working up there and I took it every year.

    20       They didn’t say anything about it.          Maybe it was

    21       some kind of regulation that they were supposed to

    22       do through the atate.       I don’t know what it was.

    23            Q.     They didn’t explain to you why?

    24           A.      No.

    25            Q.     And you never asked anybody why?


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      1           A.   No.

      2           Q.   Did you receive the report back about the

      3   conclusion of the chest x-ray?

      4           A.   Oh, yes.

      S           Q.   Who would tell you about that?

      6           A.   Oh, I think the doctors that they         - -    They

      7   just give you a little slip there.             It wasn’t

      8   specific about anything.

      9           Q.   And the slip that they gave you always

     10   indicated that your chest x-ray was fine?

     11           A.   That’s right.

     12           Q.   Do you remember taking pulmonary function

     13   tests too?

     14           A.   No, they didn’t.          Later on they had the

     15   breathing tube.          That’s all.    That was just later

     16   on.     It wasn’t early.

     17           Q.   Okay.       Later on when you started doing

     18   that tube thing, that pulmonary function test                - -




     19           A.   Yeab.

     20           Q.   -   -   did they tell you why you were doing

    21    that?

     22           A.   No, they didn’t tell us anything like

    23    that.

    24            Q.   Did you ask anybody why you were taking

    25    those?


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         1           A.      No.

     2               Q.      You never smoked?

     3               A.      No.

     4               Q.      Do you remember when Grace invoked the

     5       non-smoking policy up at the mine?

     6               A.      I don’t remember exactly what time it was,

     7       but when they had it, well, union people wanted to

     8       arbitrate it so they wouldn’t have to have it, but

     9       they lost the arbitration.

    10               Q.      There were a lot of folks up there that

    11       wanted to càntinue to be able to smoke up there;

    12       right?

    13               A.      Yeah, they would hide out.

    14               Q.      Were there a lot of employees that would

    15       hide out and smoke even after the policy?

    16               A.      Oh,   sure.   Oh, sure.    Oh, yeah, a lot of

    17       them did that.

    18               Q.      At that time do you recall the company

    19       telling the employees why they were invoking the

    20       non-smoking policy?

    21               A.      No, they didn’t.     No,   they did&t.    No.

    22               Q.      Ed, I’m going to hand you what we’ve

    23       marked as Exhibit l87a and ask that you look at

    24       that.        Do you recognize that, Ed?

    25               A.     No, never seen it until now.


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